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                   Debtors and Debtors in Possession
         14

         15
                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF WASHINGTON
         16        In re                                               Chapter 11
         17                                                            Lead Case No. 21-00141-WLH11
                   EASTERDAY RANCHES, INC., et al.
         18
                                                                       Jointly Administered
                                                     Debtors.1
         19
                                                                       DEBTORS’ EX PARTE MOTION TO
                                                                       SHORTEN TIME FOR HEARING ON
         20
                                                                       APPLICATION FOR AN ORDER
                                                                       AUTHORIZING EMPLOYMENT AND
         21
                                                                       COMPENSATION OF HYPERAMS
                                                                       LLC, AS APPRAISER FOR THE
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                                                                       DEBTORS

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                       The Debtors along with their case numbers are as follows: Easterday Ranches, Inc. (21-00141) and
         26            Easterday Farms, a Washington general partnership (21-00176).

         27        EX PARTE MOTION TO SHORTEN TIME FOR HEARING
                   ON APPLICATION FOR AN ORDER AUTHORIZING                                   B USH K ORNFELD            LLP
         28        EMPLOYMENT AND COMPENSATION OF HYPERAMS                                            LAW OFFICES
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ed19m101p7
                 21-00141-WLH11         Doc 600    Filed 04/20/21    Entered 04/20/21 18:05:31          Pg 1 of 4
             1              Easterday Ranches, Inc., and Easterday Farms, a Washington general
             2     partnership, debtors and debtors in possession (the “Debtors”) in the above-captioned
             3     chapter 11 cases (the “Chapter 11 Cases”), hereby move the court (the “Motion to
             4     Shorten Time”) on an ex parte basis for an order shortening time for hearing on the
             5     Debtors’ Application for an Order Authorizing Employment and Compensation of
             6     HYPERAMS LLC, as Appraiser for the Debtors (the “Application”). This Motion to
             7     Shorten Time is based on the record and files herein, including the Application and
             8     the supporting declaration of Thomas L. Pabst (“Pabst Declaration”). In further
             9     support of this Motion to Shorten Time, the Debtors respectfully represent as follows:
         10        A.       Background
         11                 On February 1, 2021, debtor Easterday Ranches, Inc. filed a voluntary petition
         12        for relief under chapter 11 of the Bankruptcy Code before this court. On February 8,
         13        2021, debtor Easterday Farms, a Washington general partnership, also filed a
         14        voluntary petition for relief under chapter 11 of the Bankruptcy Code before this
         15        court.
         16                 The Debtors filed their schedules and statements of financial affairs on April 9,
         17        2021 [Docket Nos. 541 and 547]. The Debtors continue to operate and manage their
         18        business and affairs as debtors in possession pursuant to sections 1107 and 1108 of the
         19        Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11
         20        Cases.
         21        B.       The Application to Authorize Employment and Compensation of
         22
                            HYPERAMS LLC as Appraiser for the Debtors

         23                 Pursuant to the Application, the Debtors seek the entry of an order pursuant to

         24        sections 327(a) and 328(a), Bankruptcy Rules 2014(a) and LBR 2014-1, authorizing

         25        the employment and retention of HYPERAMS as an appraiser for certain personal

         26        property.

         27        EX PARTE MOTION TO SHORTEN TIME FOR HEARING
                   ON APPLICATION FOR AN ORDER AUTHORIZING                            B USH K ORNFELD           LLP
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                 21-00141-WLH11       Doc 600   Filed 04/20/21   Entered 04/20/21 18:05:31      Pg 2 of 4
             1           HYPERAMS specializes in equipment appraisal and sales and has expertise in
             2     the agricultural space. HYPERAMS has conducted thousands of appraisals and has
             3     extensive experience in appraising agricultural equipment. Pursuant to the
             4     Engagement Letter attached to Pabst Declaration, dated April 16, 2021, the Debtors
             5     engaged HYPERAMS, subject to court approval, to provide appraisal of the Debtors’
             6     extensive equipment assets.
             7           The employment of HYPERAMS is appropriate and necessary to enable the
             8     Debtors to execute their duties as debtors and debtors in possession. Subject to entry
             9     of an appropriate order of this Court, HYPERAMS is prepared to render appraisal
         10        services to the Debtors.
         11        C.    Exigent Circumstances Exist for Shortening Time for Hearing on the
         12              Application.
         13              The Application should be heard on shortened time to avoid irreparable harm to
         14        the Debtors and their estates.
         15              The Debtors operate commercial farming and ranching operations, as more
         16        fully described in the First Day Declarations, which requires significant equipment to
         17        accommodate the Debtors’ operations. As the Debtors’ schedules reflect, the Debtors
         18        own hundreds of pieces of equipment located in more than a half-dozen locations. As
         19        part of their efforts to expeditiously liquidate their personal property assets, the
         20        Debtors require appraisal services to allow the Debtors to maximize the value of their
         21        assets.
         22              Sufficient cause exists to grant this Motion to Shorten Time, as the relief sought
         23        in the Application will preserve value for the Debtors’ estates, and the exigent nature
         24        of the relief justifies the matter being heard on shortened time.
         25        //
         26        //
         27        EX PARTE MOTION TO SHORTEN TIME FOR HEARING
                   ON APPLICATION FOR AN ORDER AUTHORIZING                             B USH K ORNFELD           LLP
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                 21-00141-WLH11     Doc 600    Filed 04/20/21   Entered 04/20/21 18:05:31        Pg 3 of 4
             1                                          CONCLUSION
             2           WHEREFORE, for all of the foregoing reasons, the Debtors respectfully
             3     request that the court shorten time for hearing on the Application to Wednesday, April
             4     28, 2021, at 10:00 a.m. Pacific Time, with the responses due, either in writing or
             5     orally, before or at the time of the hearing.
             6     Dated: April 19, 2021             BUSH KORNFELD LLP
             7                                       /s/ Thomas A. Buford
             8                                       THOMAS A. BUFORD, III (WSBA #52969)
                                                     BUSH KORNFELD LLP
             9

         10                                          RICHARD M. PACHULSKI (admitted pro hac vice)
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         11                                          JASON H. ROSELL (admitted pro hac vice)
         12                                          PACHULSKI STANG ZIEHL & JONES LLP

         13
                                                     Attorneys for Debtors and Debtors in Possession

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         27        EX PARTE MOTION TO SHORTEN TIME FOR HEARING
                   ON APPLICATION FOR AN ORDER AUTHORIZING                              B USH K ORNFELD           LLP
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                 21-00141-WLH11     Doc 600    Filed 04/20/21      Entered 04/20/21 18:05:31      Pg 4 of 4
